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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 Association of American Physicians & Surgeons,

                             Plaintiff,
        v.                                            Case No. 1:20-cv-493-RJJ-SJB

 Food & Drug Administration, et al.,

                             Defendants.



 Defendants’ Motion to Dismiss for Lack of Subject Matter Jurisdiction and Failure
              to State a Claim Upon Which Relief Can Be Granted


    Defendants hereby move this Court to dismiss the complaint under Federal Rules

of Civil Procedure 12(b)(1) and 12(b)(6) for lack of subject matter jurisdiction and for

failure to state a claim upon which relief can be granted. The grounds for this motion

are fully set forth in Defendants’ contemporaneously filed brief.



July 10, 2020                                 Respectfully submitted,

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    and Human Services                          Director

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                              CERTIFICATE OF SERVICE

    I hereby certify that this document, filed through the CM/ECF system, will be sent

via electronic mail to the registered participants as identified on the Notice of Electronic

Filing.


    July 10, 2020                                s/ James W. Harlow
                                                 JAMES W. HARLOW
